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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

                                    CONSOLIDATED ORDER

    ROBERT PAUL SHARPE,

            Appellant,

    V.                                                            Case No. 7:24-CV-00556-M

    PETER SPARK, et al.,

           Appellees.



    ROBERT PAUL SHARPE,

           Appellant,

    V.                                                            Case No. 7:24-CV-00600-M

    PETER SP ARK, et al. ,

           Appellees.



    ROBERT PAUL SHARPE,

           Appellant,

    V.                                                            Case No. 7:24-CV-00729-M

    STEPHANIE J. BUTLER, et al.,

           Appellees.



         These matters come before the court on several notices of appeal filed by Appellant, all of

  which target orders entered by the Bankruptcy Court of this District in two separate adversary




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  proceedings. 1 In Case No. 7:24-CV-556 (the "First Appeal"), Appellant seeks review of an order

  remanding an adversary proceeding (Case No. 23-AP-00089-5-DMW) to state court. Case No.

  7:24-CV-556, DE 1 at 1. In Case No. 7:24-CV-600 (the "Second Appeal"), Appellant seeks review

  of an order dismissing a separate adversary proceeding (Case No. 24-AP-00035-5-DMW) for lack

  of subject matter jurisdiction. Case No. 7:24-CV-600, DE 1 at 1. And in Case No. 7:24-CV-729

  (the "Third Appeal"), Appellant seeks review of an order denying him in forma pauperis ("IFP")

  status in the same adversary proceeding that is the subject of the Second Appeal. Case No. 7:24-

  CV-729, DE 1 at 1.

           The First Appeal is subject to dismissal due to Appellant' s recurrent disregard of the

  procedural rules. As to that filing,2 the Bankruptcy Judge sua sponte recommended that this court

  dismiss the appeal due to Appellant's failure to file a designation of items to be included in the

  record on appeal and a statement of the issues to be presented. Case No. 7:24-CV-556, DE 3 at 2.

  The designation and statement of issues must be filed within 14 days after the filing of a notice of

  appeal. Fed. R. Bankr. P. 8009(a)(l)(A).




  1
    Both adversary proceedings are associated with the Chapter 7 bankruptcy proceeding of Port City Contracting
  Services, Inc. , an entity in which Appellant held controlling stock. See In re Port City Contracting Servs., 5:22-BK-
  2917-DMW, (Bankr. E.D.N.C. 2022)
  2 The court notes the Bankruptcy Court's and Appellees ' position that the relevant statute forecloses appellate review

  of an order from the Bankruptcy Court that remands an action to state court on equitable grounds. See DE 2-1 at 1-2;
  DE 3 at 2; 28 U.S.C. § 1452(b); Sykes v. Texas Air Corp. , 834 F.2d 488, 489 (5th Cir. 1987). But the weight of
  authority suggests that appellate review is only unavailable in "the court of appeals." 28 U.S.C. § l 452(b ). "If the
  bankruptcy court remands a case, an appeal to the district court is permitted." In re Ramada inn-Paragould Gen.
  P 'ship, 138 B.R. 63 , 64 (Bankr. E.D. Ark. 1992) (citing legislative history that amendment to Section 1452 "forbid[s]
  only appeals from the district courts to the courts of appeals, not from bankruptcy courts to the district courts"); accord
  In re Maison Royale, LLC, No. 23-6191 , 2024 WL 25 I 0725, at *4 (E.D. La. May 24, 2024); Ludwig & Robinson,
  PLLC v. Yelverton L. Firm, PLLC, No . 11-CV-1452, 2012 WL 12905556, at *2 (D.D.C. May 3, 2012); In re Gold
  Messenger, inc. , 221 B.R. 259, 261 (D. Colo. 1998); In re Tray lor, 192 B.R. 255, 257 (M .D. Ala. 1995); Scherer v.
  Carroll, 150 B.R. 549, 551 (D. Vt. 1993); In re Borelli, 132 B.R. 648, 649 (N.D. Cal. 1991); in re CF Corp., 127 B.R.
  384, 385 (Bankr. N.D. Ohio 1991); In re Clark, 127 B.R. 351 , 353 (W.D.N.C. 1991) (all concluding that appeal of
  remand order may be taken to district court). Accordingly, the court finds that it has subject matter jurisdiction over
  the First Appeal. Cf Northern Pipeline Const. Co. v. Marathon Pipe line Co., 458 U.S. 50, 86-87 (1982).

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           Approximately 70 days after filing his notice of appeal, Appellant filed a designation of

  items to be included in the record on appeal. Case No. 23-AP-00089-5-DMW, DE 175. Two days

  later, he added another designation. Case No. 23-AP-00089-5-DMW, DE 177. Four days after

  that, he filed another designation. Case No. 23-AP-00089-5-DMW, DE 179. All of these filings

  are deficient because Appellant has failed to identify a single issue to be presented, much less "a

  statement of the issues to be presented." Fed. R. Banla. P. 8009(a)(l)(A). This requirement is not

  gratuitous; it "helps provide the appellee with the scope of the appeal so that the appellee can

  adequately address and argue the appeal." In re Dunlap, No. 3:16-CV-00037, 2017 WL 374915,

  at *2 (W.D.N.C. Jan. 25, 2017), aff'd, 697 F. App'x 176 (4th Cir. 2017).

           Appellant' s failure to provide notice of any issues to be raised in the First Appeal precludes

  meaningful review by this court and operates to the prejudice of Appellees. It also constitutes a

  waiver of any issue he has not raised, which in this case amounts to any issue he could raise. In

  re GGM, P. C., 165 F.3d 1026, 1031 (5th Cir. 1999). This court recently reminded Appellant that

  his "failure to comply with Federal Banlauptcy Rule 8009(a)(l)(A)" is grounds for "dismissing

  the appeal." Sharpe v. Butler, No. 7:24-CV-00456, 2024 WL 4182587, at *1 (E.D.N.C. Sept. 13,

  2024).    Appellant failed to heed that reminder, and his negligent noncompliance with the

  procedural rules warrants dismissal of the First Appeal. In re Broadnax, 122 F. App'x 81 , 82 (4th

  Cir. 2005); In re Serra Builders, Inc., 970 F.2d 1309, 1311 (4th Cir. 1992).

           The Bankruptcy Judge has also recommended that this court dismiss the Second and Third

  Appeals because Appellant has not paid the requisite filing fee for either appeal. Case No. 7:24-

  CV-600, DE 12 at 2; Case No. 7 :24-CV-729, DE 3 at 2. Rather than dismiss the Second and Third

  Appeal outright, and out of an abundance of caution, the court will offer Appellant an opportunity

  to either (1) pay the filing fee for each appeal or (2) show cause why the court should waive



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  payment of the fees. See 28 U.S.C. §§ 1915(a)(l) & 1930(±). A statement that Appellant has

  received IFP status from another court in another case will be insufficient to establish cause, and

  the court advises Appellant to review the relevant statutes prior to requesting waiver of the filing

  fees.

          Case No. 7:24-CV-556 is DISMISSED, and Appellant SHALL file a response to this order

  in each of cases 7:24-CV-600 and 7:24-CV-729 on or before October 18, 2024.


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          SO ORDERED this        l u day of October, 2024.




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                                                RICHARD E. MYERS II
                                                CHIEF UNITED STATES DISTRICT JUDGE




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